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7                              UNITED STATES DISTRICT COURT
8                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
9                                      WESTERN DIVISION
10 UNITED STATES OF AMERICA,                        Case No. 2:15-cv-5903-DDP-JEM
11               Plaintiff,                         ORDER REGARDING TIMING OF
                                                    SUBMISSION OF JOINT FILING
12                      v.                          REGARDING IMPLEMENTATION
                                                    PLANS
13 COUNTY OF LOS ANGELES et al.,
14               Defendants.
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18         The Court has read and considered the Stipulation Regarding Timing of
19   Submission of Joint Filing Regarding Implementation Plans between the United States
20   of America and the County of Los Angeles and Los Angeles County Sheriff (the
21   “County”) (the “Parties”).
22         FOR GOOD CAUSE SHOWN:
23         Paragraph 5 of the Court’s Order, dated January 24, 2022, ECF No. 185, is
24   amended to allow the Parties until May 13, 2022 -- rather than May 1, 2022 -- to make a
25   joint filing setting forth their respective positions regarding any contested aspects of the
26   proposed implementation plans being provided by the County to the United States and
27   Monitor. Consistent with the January 24, 2022 Order, this joint filing will set forth the
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1    grounds of any disagreement between the Parties, each Party’s proposed resolution, and
2    the Monitor’s view on the subject.
3    IT IS SO ORDERED.
4
5    April 15, 2022
6    DATE                                       HONORABLE DEAN. D. PREGERSON
                                                UNITED STATES DISTRICT JUDGE
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8
     Presented by:
9
10   /s/Robert E. Dugdale
     ROBERT E. DUGDALE
11   Kendall Brill & Kelly LLP

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     Attorneys for the County of
13   Los Angeles and the Los Angeles
     County Sheriff
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